Case 1-25-42004-e€SS DOCLl FileaqU/feO/es Entered U//20/295 14750740

MOM Meer Com eT Nm Ulmer ios

 

United States Bankruptcy Court for the: 2 RAI 1 | ;

Anstey District of — Nov Yee

(State)

Case number (if known): Chapter C) Check if this is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name los FUL TW NM LLU

fo
2. All other names debtor used N bv
in the last 8 years

 

Include any assumed names, —
trade names, and doing business

 

as names

 

3. Debtor’s federal Employer LL L _ $204 4Y5S§

Identification Number (EIN)

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
Number Street — Number Street

 

 

 

P.O. Box

Bawielyw Ny NLDY

City State “ZIP Cod City State ZIP Code

Location of principal assets, if different from

. principal place of business
ION 6S

County

 

Number Street

 

 

City State ZIP Code

5. Debtor’s website (URL) Oph

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1

 
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Debtor ) b 2 Fv LTD LL i Case number (if known)

 

Name

6. Type of debtor

A corporation {including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
L) Partnership (excluding LLP)
C2) other. Specify:

 

 

7. Describe debtor’s business

 

A. Check one:

C] Health Care Business (as defined in 11 U.S.C. § 101(27A)})
Monae Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CQ) Railroad (as defined in 11 U.S.C. § 101(44))

C} Stockbroker (as defined in 11 U.S.C. § 101(53A))

CJ Commodity Broker (as defined in 11 U.S.C. § 401(6)}

OQ Clearing Bank (as defined in 11 U.S.C. § 781(3))

C) None of the above

B. Check all that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

C) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C} Investment advisor (as. defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

http:/Awww.uscourts.gov/four-digit-national-association-naics-codes .

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Check one:

C) Chapter 7

C] Chapter 9
Chapter 11. Chgék all that apply.

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

(J The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

CI A plan is being filed with this petition.

C] Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

CJ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Aifachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

C] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

Cj Chapter 12

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor l } b> fU LTD Ww LL i Case number (if known)
Name

 

 

 

9. Were prior bankruptcy cases 0
filed by or against the debtor
within the last 8 years? C} Yes. District When Case number

MM / DD/YYYY

If more than 2 cases, attach a Distt wh C 5
separate list. istrict en ase number

MM / BDI YYYY
L. .

10. Are any bankruptcy cases aio
pending or being filed by a
business partner or an Cl Yes. Debtor Relationship
affiliate of the debtor? District When

List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

 

 

11. Why is the case filed in this Cheé¢k all that apply:

district? . : a . wa a
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Cla bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

 

12. Does the debtor own or have mK
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check all that apply.)
attention?

(J Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety,
What is the hazard?

 

C} It needs to be physically secured or protected from the weather.

C} It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goads, meat, dairy, produce, or securities-related
assets or other options).

(J Other

 

Where is the property?
Number Street

 

 

City State ZIP Code

Is the property insured?

CI No

LC) Yes. insurance agency

 

Contact name

 

Phone |

i Statistical and administrative information

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 3
Case 1-25-42004-e€SS DOCLl FileadU/feU/es Entered U//20/25 14750740

Debtor Wb FULTIDM LLC

 

Name

Case number tif known}

 

13. Debtor’s estimation of
available funds

414. Estimated number of
creditors

Check one:

Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

LJ 50-99
C) 100-199
LC] 200-999

avis cee es

 

15. Estimated assets

£960-850,000

LJ $50,001-$100,000
O) $100,001-$500,000
CY $500,001-$1 million

 

16. Estimated liabilities

(I $0-$50,000
CJ $50,001-$100,000

CJ $100,001-$500,000
$500,001-$1 million

{] $1,000,001-$10 million

(J 1,000-5,000
LJ 5,001-10,000
C2 10,001-25,000

(2) $1,000,001-$10 million

LJ $10,000,001-$50 million
(J $50,000,001-$100 million
CJ $400,000,001-$500 million

1 $10,000,001-$50 million
CY $50,000,001-$100 million
CI $100,000,001-$500 million

CY 25,001-50,000
C] 50,001-100,000
LJ More than 100,000

CY $500,000,001-$4 billion

C} $1,000,000,001-$10 billion
€) $10,000,000,001-$50 billion
Q) More than $50 billion

C] $500,000,001-$1 billion

CJ $4,000,000,001-$10 billion
LI $10,000,000,001-$50 billion
C) More than $50 billion

a Request for Relief, Declaration, and Signatures
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature. of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on if 20 é 2
MM’ /DBIYYYY .
a
K Mey? fe

Signature of authorized representative of debtor

Title Pop CP ye

horned ARpvUL ESA

Printed name

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Name

Case 1-25-42004-€SS DVDOCLl Filed O//20/25

Debtor Wes Fu LTV UA

 

entered Of/20/25 14750'40

Case number {if known),

 

 

 

 

 

18. Signature of attorney x Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code

Official Form 201

 

Contact phone

 

Email address

 

Bar number

State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 5
Case 1-25-42004-e€SS DOCLl FileaqdU/feQ/es Entered U//20/25 14750740

Official Form 201A (12/15)

[If debtor ts required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
Bankruptcy Code, this Exhibit “A” shall be completed and attached to the petition ]

[Caption as in Form 416B]

Attachment to Voluntary Petition for Non-Individuals Filing for
Bankruptcy under Chapter 11

1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
1934, the SEC file number is — .

2. The following financial data is the latest available information and refers to the debtor's condition on

_
a. Total assets $ 200,000 *

—~
b. Total debts (including debts listed in 2.c., below) $ (3506 ob «

c. Debt securities held by more than 500 holders
Approximate

 

 

 

 

 

number of
holders:
L
secured -€[ unsecured 0 subordinated O $ LS Ue |
secured unsecured O subordinated O $
secured [CJ unsecured O) subordinated OF $
secured [) unsecured O subordinated 0 $
secured C] unsecured O subordinated (1 $
d. Number of shares of preferred stock ©
e. Number of shares common stock 10)

Comments, if any:

 

 

 

3. Brief description of debtor's business: eAr SIM: 1

 

 

4, List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
5% or more of the voting securities of debtor:

 

 

 

Official Form 201A Attachment to Voluntary Petition for Non-Individuais Filing for Bankruptey under Chapter | 1

 
Case 1-25-42004-e€SS DOCLl FileadU/feU/es Entered U//20/25 14750740

UMBRO EMI er elem MCI Lim Ulmer: t1-H

Debtor name Ub Fu “Dp MS wc
~ United States Bankruptcy Court for the: EASTRN District of AB VU CL

{State}

   

LJ Check if this is an

Case number (If known): amended filing

 

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an fnsider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

 

 

 

 

 

    
   

‘ Total claim, if © Deduction for . Unsecured

| partially : value of * claim
: secured , collateral or
setoff

DAUILOF Uvyone ey
boca sf erst 2ie~ HE- NRT MoTORAL wyiaui dee Wyo.

Mw Your, WV 1y28e

 

 

 

 

 

 

 

 

 

Official Form 204 Chapter 17 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1

 
Case 1-20-42904-€SS LDOCl Filed Osfe0i2s Entered U//20/25 14:50740

Debtor _—lb% FULTDN LUY Case number (it known)

 
  
   

 
 

mount of unsecured clai

-\f the claim is fully unsecured; fill in only-unsecured

laim amount. If claim is. partially secured,fill'in

total claim amount and.deduction for value of
collateral or'setoff to. calculate unsecured claim.

  

 

“, Total claim, if | Deductionfor ! Unsecured
; partially » value of claim
@ secured | collateral or
: : setoff

i

 

 

 

10 ,

11

 

12

 

    

13

 

 

 

 

15 i

 

 

   

 

 

19

 

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2

 
Case 1-25-42004-e€SS DOCLl FileadU/feU/es Entered U//20/25 14750740

CORPORATE RESOLUTION

1163 Fulton LLC unanimously agrees to file this Chapter 11 Bankruptcy Petition

me
pwn It alas
. Vf?

Mohammed Aboulessan-President Date

 
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

peBror(s): 163 +ultwa pte CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerming
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of
either of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

“3=NO ORDER BARRING DEBTOR FROM FILING A PETITION UNDER ANY CHAPTER IS IN EFFECT.
O.NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
CO THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

J. CASENO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

e SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

° SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

 

2. CASENO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [If closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

 

e SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B —PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

° SCHEDULE A/B: ASSETS —- REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A /B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont'd)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:
Lam admitted to practice in the Eastern District of New York (Y/N): _/ \/
CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that:
e The within bankruptcy case is not related to any case pending, or pending within the last eight years, except as indicated on this

form.
e J, the above-named debtor, am currently not barred by any order of this court from filing for bankruptcy.

No AH
Signature of Debtor’s Attorney “Signature of Pro-se Debtor/Petitioner
ZO h , fh . 3 , ; -
a7 71 Pe ee retin A+ ie
Mailing Address of Debtor/Petitioner 7

(Gen lw MY (1201

City, Staté, Zip Code

 

 

Email Address

3y7 B25°- 700
Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

 
Case 1-25-42004-e€SS DOCLl FileadU/feO/e5 Entered U//20/25 14750740

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Case No.

Chapter / |

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated:

D/ 20 2227
I Mu) [> iL CA

Debtor

 

 

Joint Debtor

s/
Attorney for Debtor

 

USBC-44 Rey. 11/15
Case 1-25-42004-e€SS DOCLl FileadU/feU/es Entered U//20/25 14750740

Bank of New York Mellon
240 Greenwich St
New York NY 10286
Case 1-25-42004-e€SS DOCL FileadU/e0/es Entered U//20/29 14750740

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
In re: Case No.
| 63 ee jen ree Chapter
Debtor(s)
x
AFFIRMATION OF FILER(S)

 

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

 

 

 

Name of Filer: votes At Jlissea
Address: 24 / PFT
Email Address:

Phone Number: AYP + 4 g

 

Name of Debtor(s): | L¢ + tel LEC

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

I PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: _fujec_ ferm . fez chy ver ft

 

I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS.

FEE RECEIVED:
> JWAS NOT PAID.

I WAS PAID.
Amount Paid: $

 

I/We hereby affirm the information above under the penalty of perjury.

Dated: Z (20/23 COCK _-— &
Filer’s Signature

 

 
